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                             UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                    EL PASO DIVISION


 NORMA S. ROBLES,
                                                      CIVIL COMPLAINT
              Plaintiff,

 v.                                                   CASE NO. 3:18-cv-00017

 MEDICREDIT, INC.,
                                                      DEMAND FOR JURY TRIAL
              Defendant.


                                           COMPLAINT

         NOW comes NORMA S. ROBLES (“Plaintiff”), by and through her attorneys, Sulaiman

Law Group, Ltd. (“Sulaiman”), complaining as to the conduct of MEDICREDIT, INC.

(“Defendant”), as follows:

                                      NATURE OF THE ACTION

      1. Plaintiff brings this action for damages pursuant to the Fair Debt Collection Practices Act

(“FDCPA”) under 15 U.S.C. §1692 et seq., the Telephone Consumer Protection Act (“TCPA”)

under 47 U.S.C. §227 et seq., and the Texas Debt Collection Act (“TDCA”) under Tex. Fin. Code

Ann. § 392 et seq. for Defendant’s unlawful conduct.

                                     JURISDICTION AND VENUE

      2. This action arises under and is brought pursuant to the FDCPA and TCPA. Subject matter

jurisdiction is conferred upon this Court by 15 U.S.C §1692, 47 U.S.C §227, 28 U.S.C. §§1331

and 1337, as the action arises under the laws of the United States. Supplemental jurisdiction exists

for the state law claim pursuant to 28 U.S.C. §1367.




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   3. Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts business

in the Western District of Texas and a substantial portion the events or omissions giving rise to the

claims occurred within the Western District of Texas.

                                              PARTIES

   4. Plaintiff is a 44 year old natural person residing at 2900 Dyer Street, El Paso, Texas, which

is located within the Western District of Texas.

   5. Plaintiff is a “person” as defined by 47 U.S.C. §153(39).

   6. Defendant is a collection agency focused exclusively on medical and healthcare debts with

its headquarters located in St. Louis, Missouri. Defendant’s registered agent is located at 1999

Bryan Street, Suite 900, Dallas, Texas, and makes collection calls in all states.

   7. Defendant is a “person” as defined by 47 U.S.C. §153(39).

   8. Defendant acted through its agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogees, representatives and insurers at all

times relevant to the instant action.

                             FACTS SUPPORTING CAUSES OF ACTION

   9.    During the spring of 2015, Plaintiff began receiving calls to her cellular phone, (915)

XXX-2606, from Defendant.

   10. At all times relevant to the instant action, Plaintiff was the sole subscriber, owner, and

operator of the cellular phone ending in 2606. Plaintiff is and always has been financially

responsible for the cellular phone and its services.

   11. Defendant used the phone number (800) 823-2318 when placing calls to Plaintiff’s cellular

phone.




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    12. Upon information and belief, the above referenced phone number ending in 2318 is

regularly utilized by Defendant during its debt collection activity.

    13. Upon answering phone calls from Defendant, Plaintiff would experience a significant

pause, lasting a handful of seconds in length, before being connected with a live representative.

    14. Upon speaking with Defendant, Plaintiff was informed that it was acting as a debt

collector attempting to collect upon an underlying medical debt (“subject consumer debt”).

    15. Plaintiff did not have the means to make payment, so she demanded that Defendant stop

contacting her.

    16. Despite Plaintiff’s demands, Defendant continued to place phone calls to Plaintiff’s

cellular phone seeking collection of the subject debt into the spring of 2017.

    17. Plaintiff has received not less than 26 phone calls from Defendant since asking it to stop

calling.

    18. Plaintiff has been unfairly and unnecessarily harassed by Defendant's actions.

    19. With the goal of specifically addressing Defendant’s conduct, Plaintiff has expended

 approximately $61.00 to purchase and maintain an application on her cellular phone to help quell

 Defendant’s calls. However, the communications have continued.

    20. Frustrated over Defendant’s conduct, Plaintiff spoke with Sulaiman regarding her rights,

 resulting in expenses.

    21. Plaintiff has suffered concrete harm as a result of Defendant’s actions, including but not

 limited to, invasion of privacy, aggravation that accompanies collection telephone calls,

 emotional distress, increased risk of personal injury resulting from the distraction caused by the

 never-ending calls, increased usage of her telephone services, loss of cellular phone capacity,




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 diminished cellular phone functionality, decreased battery life on her cellular phone, and

 diminished space for data storage on her cellular phone.


           COUNT I – VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

   22. Plaintiff repeats and realleges paragraphs 1 through 21 as though full set forth herein.

   23. Plaintiff is a “consumer” as defined by 15 U.S.C. §1692a(3) of the FDCPA.

   24. Defendant is a “debt collector” as defined by §1692a(6) of the FDCPA, because it regularly

use the mail and/or the telephone to collect, or attempt to collect, delinquent consumer accounts.

   25. Defendant identifies itself as a debt collector, and is engaged in the business of collecting

or attempting to collect, directly or indirectly, defaulted debts owed or due or asserted to be owed

or due to others.

   26. The subject debt is a “debt” as defined by FDCPA §1692a(5) as it arises out of a transaction

due or asserted to be owed or due to another for personal, family, or household purposes.

       a. Violations of FDCPA §1692c(a)(1) and §1692d

   27. The FDCPA, pursuant to 15 U.S.C. §1692d, prohibits a debt collector from engaging “in

any conduct the natural consequence of which is to harass, oppress, or abuse any person in

connection with the collection of a debt.” §1692d(5) further prohibits, “causing a telephone to ring

or engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.”

   28. Defendant violated §1692c(a)(1), d, and d(5) when it repeatedly called Plaintiff after being

notified to stop. Defendant called Plaintiff at least 26 times after she demanded that it stop calling.

This repeated behavior of systematically calling Plaintiff’s phone in spite of her demands was

harassing and abusive. The frequency and nature of calls shows that Defendant willfully ignored

Plaintiff’s pleas with the goal of annoying and harassing her.

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    29. Defendant was notified by Plaintiff that its calls were not welcomed. As such, Defendant

knew that its conduct was inconvenient and harassing to her.

          b. Violations of FDCPA § 1692e

    30. The FDCPA, pursuant to 15 U.S.C. §1692e, prohibits a debt collector from using “any

 false, deceptive, or misleading representation or means in connection with the collection of any

 debt.”

    31. In addition, this section enumerates specific violations, such as:

            “The use of any false representation or deceptive means to collect or attempt to
            collect any debt or to obtain information concerning a consumer.” 15 U.S.C.
            §1692e(10).

    32. Defendant violated §1692e and e(10) when it used deceptive means to collect and/or

attempt to collect the subject debt. In spite of the fact that Plaintiff demanded that it stop contacting

her, Defendant continued to contact her via automated calls. Instead of putting an end to this

harassing behavior, Defendant systematically placed calls to Plaintiff’s cellular phone in a

deceptive attempt to force her to answer its calls and ultimately make a payment. Through its

conduct, Defendant misleadingly represented to Plaintiff that it had the legal ability to contact her

via an automated system when it no longer had consent to do so.

          c. Violations of FDCPA § 1692f

    33. The FDCPA, pursuant to 15 U.S.C. §1692f, prohibits a debt collector from using “unfair

or unconscionable means to collect or attempt to collect any debt.”

    34. Defendant violated §1692f when it unfairly and unconscionably attempted to collect on a

debt by continuously calling Plaintiff over 26 times after being notified to stop. Attempting to

coerce Plaintiff into payment by placing voluminous phone calls without her permission is unfair

and unconscionable behavior. These means employed by Defendant only served to worry and

confuse Plaintiff.

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   35. As pled in paragraphs 17 through 21, Plaintiff has been harmed and suffered damages as a

result of Defendant’s illegal actions.

   WHEREFORE, Plaintiff, NORMA S. ROBLES, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned bodies of law;

   b. Awarding Plaintiff statutory damages of $1,000.00 as provided under 15 U.S.C.
      §1692k(a)(2)(A);

   c. Awarding Plaintiff actual damages, in an amount to be determined at trial, as provided
      under 15 U.S.C. §1692k(a)(1);

   d. Awarding Plaintiff costs and reasonable attorney fees as provided under 15 U.S.C.
      §1692k(a)(3); and

   e. Awarding any other relief as this Honorable Court deems just and appropriate.


          COUNT II – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

   36. Plaintiff repeats and realleges paragraphs 1 through 35 as though fully set forth herein.

   37. The TCPA, pursuant to 47 U.S.C. § 227(b)(1)(iii), prohibits calling persons on their

cellular phone using an automatic telephone dialing system (“ATDS”) without their consent. The

TCPA, under 47 U.S.C. § 227(a)(1), defines an ATDS as “equipment which has the capacity...to

store or produce telephone numbers to be called, using a random or sequential number generator;

and to dial such numbers.”

   38. Defendant used an ATDS in connection with its communications directed towards

Plaintiff’s cellular phone. The significant pause, lasting a handful of seconds in length, which

Plaintiff experienced during answered calls from Defendant is instructive that an ATDS was being

utilized to generate the phone calls. Moreover, the nature and frequency of Defendant’s contacts

points to the involvement of an ATDS.

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   39. Defendant violated the TCPA by placing at least 26 phone calls to Plaintiff’s cellular

phone using an ATDS without her consent. Any consent that Plaintiff may have given to the

originator of the consumer debt, which Defendant will likely assert transferred down, was

specifically revoked by Plaintiff’s demands that it cease contacting her.

   40. The calls placed by Defendant to Plaintiff were regarding collection activity and not for

emergency purposes as defined by the TCPA under 47 U.S.C. §227(b)(1)(A)(i).

   41. Under the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(B), Defendant is liable to Plaintiff

for at least $500.00 per call. Moreover, Defendant’s willful and knowing violations of the TCPA

should trigger this Honorable Court’s ability to triple the damages to which Plaintiff is otherwise

entitled to under 47 U.S.C. § 227(b)(3)(C).

   WHEREFORE, Plaintiff, NORMA S. ROBLES, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

   a. Declaring that the practices complained of herein are unlawful and violate the
      aforementioned statutes and regulations;

   b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
      pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);

   c. Awarding Plaintiff costs and reasonable attorney fees; and

   d. Awarding any other relief as this Honorable Court deems just and appropriate.


               COUNT III – VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT

   42. Plaintiff restates and realleges paragraphs 1 through 41 as though fully set forth herein.

   43. Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

   44. Defendant is a “debt collector” and a “third party debt collector” as defined by Tex. Fin.

Code Ann. § 392.001(6) and (7).




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    45. The subject debt is a “consumer debt” as defined by Tex. Fin. Code Ann. § 392.001(2) as

it is an obligation, or alleged obligation, arising from a transaction for personal, family, or

household purposes.

            a. Violations of TDCA § 392.302

    46. The TDCA, pursuant to Tex. Fin. Code Ann. § 392.302(4), states that “a debt collector may

not oppress, harass, or abuse a person by causing a telephone to ring repeatedly or continuously,

or making repeated or continuous telephone calls, with the intent to harass a person at the called

number.”

    47. Defendant violated the TDCA when it continued to call Plaintiff’s cellular phone at least

26 times after she notified it to stop calling. The repeated contacts were made with the hope that

Plaintiff would succumb to the harassing behavior and ultimately make a payment upon a debt for

which Plaintiff was not sure she actually owed. Rather than understanding Plaintiff’s situation,

Defendant continued its harassing campaign of phone calls in hopes that Plaintiff would be coerced

to make payment.

    48. Upon being told to stop calling, Defendant had ample reason to be aware that it should not

continue its harassing calling campaign. Yet, Defendant consciously chose to continue placing

calls to Plaintiff’s cellular phone.

    WHEREFORE, Plaintiff, NORMA S. ROBLES, respectfully requests that this Honorable

Court enter judgment in her favor as follows:

    a. Declaring that the practices complained of herein are unlawful and violate the
       aforementioned statutes and regulations;

    b. Entitling Plaintiff to injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1).

    c. Awarding Plaintiff actual damages, pursuant to Tex. Fin. Code Ann. § 392.403(a)(2).




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   d. Awarding Plaintiff punitive damages, in an amount to be determined at trial, for the
      underlying violations;

   e. Awarding Plaintiff costs and reasonable attorney fees, pursuant to Tex. Fin. Code Ann. §
      392.403(b);

   f. Awarding any other relief as this Honorable Court deems just and appropriate.

Dated: January 17, 2018                            Respectfully submitted,

s/ Nathan C. Volheim                               s/Taxiarchis Hatzidimitriadis
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